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STATE OF IDAH()

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IN THE DISTRICT COUR'I` OF THE SECOND JUDICIAL DISTRICT
OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF NEZ PERCE

STATE OF IDAHO, DEPARTMENT OF HEALTH
AND WELFARE,

CaseNc!::V 17 01230

COMPLAINT 'I`O SET ASIDE
TRANSFER OF ASSETS

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EXEMPT: I.c.§31-3212
PRAVEEN KHURANA and JOl-IN W. PERRY,

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vs. )
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Defendants. )

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COMES NOW the State of Idaho, Department of Health and Welfare (hereinafter the

“Department”), by and through its attorney, Douglas E. Fleenor, Deputy Attorney Generai, and

complains against PR.AVEEN KHURANA and JOHN W. PERRY, as follows:

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COMPLAINT TO SET ASIDE
TRANSFER OF ASSETS - l

 

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I.
PARTIES
l. The Plaintift`, State of Idaho, Departrnent of Health and Welfare (“Department"), is
a Department cf the State of Idaho and is the agency empowered and authorized to administer the
medical assistance program (alsc called Medicaid) in this state.
2. Defendants PRAVEEN KI-IURANA and JOHN W. PERRY, are residents of
Lewiston, Idaho.
3. Defendant PRAVEEN KHUR_ANA is the named grantee under a Quitclaim Deed
with DELORES M. ADAMSON, grantor, hereinafter described.
4. Defendant JOHN W PERRY, is the named grantee under a Quitclaim Deed With
PRAVEEN KHURANA, grantor, hereinafter described.
5. Venue is properly placed in this county pursuant to Idaho Code §§ 5-401 and 5-404.
II.
GENERAL ALLEGATIONS
6. Delores M. Adamson (“Delores”) was born May l4, 1938, and died October 6, 2016,
at the age of 78.
7. On August 1, 2007, Delores applied for medical assistance (Medicaid) benefits
8. The Department provided Medicaid benefits beginning August l, 2007, on behalf of

Delores, in the sum of $239,78] .80.

9. Delores was fifty-five years of age or older when she began receiving Medicaid
assistance
COMPLA[NT TO SET ASIDE

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lO. On or about December 30, 1993, Delores as Delores Snyder, a married woman, as
her sole and separate property, acquired a one-half interest in real property located in Nez Perce
County, hereinafter the “subject real property.” A true and correct copy of said Deed is attached as
Exhibit “A"1 and is incorporated herein by reference

ll. On or about January 3, 1994, Delores, as Delores Snyder, a married woman, as her
sole and separate property, acquired the other one-half interest in the subject real property. A true
and correct copy of` said Deed is attached as Exhibit “B”, and is incorporated herein by referencel

12. From 2002 to 2004, the subject real property was transferred to Delores and her l
husband as joint owners, then back to Delores, which resulted in Delores solely owning the
property. These transfers are not at issue in this case.

13. On November 27, 2006, Delores executed a Quitclaim Deed conveying one-half of
the subject real property to PRAVEEN KHURANA. A true and correct copy of said Deed is
attached as Exhibit “C“, and is incorporated herein by reference

14. On May 9, 2012, PRAVEEN KHURANA executed a Warranty Deed conveying the
subject real property to Delores. This Warranty Deed was recorded in Nez Perce County on May 9,
2012. A true and correct copy of said Warranty Deed is attached as Exhibit “D", and by reference
is fully incorporated herein.

15. On August ]3, 2012, Delores executed a Quitclairn Deed conveying the subject real
property to herself and PRAVEEN KHURANA jointiy. This Quitclaim Deed was recorded in Nez
Perce County on August l§. 2012. A true and correct copy of said Quitclaim Deed is attached as

Exhibit “E”. and by reference is fully incorporated herein

COMPLAINT TO SET ASIDE
TRANSFER OF ASSETS - 3

 

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16. On May 9, 2012, Delores executed a Quitc|airn Deed conveying the subject real
property to PRAVEEN KHURANA. This Quitclairn Deed was recorded in Nez Perce County on
July 31, 2013. A true and correct copy of said Quitclaim Deed is attached as Exhibit “F”, and by
reference is fully incorporated herein.

l'r'. Upon information and belief, Delores did not receive adequate consideration for any
of the above transfers of the subject real property to PRAVEEN KHURANA.

18. On April 28, 20'16, PRAVEEN KHURANA executed a Corrected Quitclaim Deed
conveying the subject real property to JOHN WILLIAM PERRY for the sum ofOne Dol]ar ($l ,00).
A true and correct copy of said Corrected Quitclaim Deed is attached as Exhibit “G", and by
reference is fully incorporated herein.

]9. The Departrnent is authorized and required to recover medical assistance benefits
paid on behalf of recipients who are 55 years of age and older, from their estates.

20. As provided in Idaho Code § 56-218, the Department has a priority creditor's claim
against any assets and estate of Delores M. Adarnson in the amount of at least $239,781.80.

III.
CAUSE OF ACTION - SET ASIDE

21. The Department realleges Paragraphs 1 through 20, as if fully set forth herein.

22. Transfers made by Medicaid recipients or their spouses within the lookbacl< period
defined in 42 U.S.C. l396p, without adequate consideration, are voidable pursuant to Idaho Code '
§ 56-218(2).

23. The transfer of the real property described in paragraphs 13, 15 and 16, are transfers

within the lookback period, were made without adequate consideration, and should be set aside and

declared void pursuant to Idaho Code § 56-218(2).

COMPLAINT TO SET ASIDE
TRANSFER OF ASSETS - 4

 

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WHEREFORE, the Department prays for relief against Defendants PRAVEEN
KHURANA and JOHN W. PERRY, as follows:

l. That the Quitciaim Deed, Exhibit “C” herein, be set aside and declared void
pursuant to Idaho Code § 56-218(2);

2. Alternatively, that the Quitclaim Deed, Exhibit ‘_‘E" herein, be set aside and
declared void pursuant to Idaho Code § 56-218(2);

3. Altematively, that the Quitclairn Deed, Exhibit “F" herein, be set aside and
declared void pursuant to Idaho Code § 56-218(2);

4. For the sum of $1,500 as costs and reasonable attorney fees in the event judgment
is entered in this matter by default, or for such other further and greater sum as the Court may

deem reasonable in the event this matter is contested;

5. For such other and further relief as may be appropriate in this matter.

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Deputy ey General

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DATED this ii) day ofJune, 2017.

COMPLAINT TO SET ASIDE
TRANSFER OF ASSETS - 5

 

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VERIFICATION
STATE OF IDAI-IO )
) ss.
County of Ada )

SHEILA PUGATCI-I, being first duly sworn, deposes and states: That l am the Bureau
Chief of the Bureau ofFinancial Operations, Division of Medicaid, State of ldaho, Department of
Health and Welfare; that I have read the foregoing and know the contents thereof; and that to my
knowledge and belief, the facts stated therein are true and correct.

sHEILA PUGXTCH,¢Bur-.-au chief
Bureau of Financial Operations

Division of Medicaid, State of Idaho
Department of Health & Welfare

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§§ ANGEL L. o"BR~IEN, Paralegai
§ thary Public for Idaho
§§ Comrnission Expires: 3-9-2022

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COMPLAINT TO SET ASIDE

TRANSFER OF ASSETS - 6

 

